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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )      Case No. 17 CR 281
v.                                                   )
                                                     )       Honorable Elaine Bucklo
CARLOS MEZA,                                         )
                                                     )
                              Defendant.             )


                                    NOTICE OF APPEAL

        NOW COMES Defendan-Appellant, CARLOS MEZA, by and through his attorney,

Joshua B. Kutnick, and hereby appeals from the Judgment entered on June 21, 2019 and the

sentence imposed on him following his plea of guilty in the United States District Court for the

Northern District of Illinois, Chicago, Illinois, the Honorable Judge Elaine Bucklo presiding.

This Notice has been filed within 14 days of the entry of the Judgment and Commitment in this

case.

        Defendant proceeded in forma pauperis in the Court below and thus that status continues

in this appeal. Defendant requests that new counsel be appointed to represent him in this appeal.

A Docketing Statement has been filed contemporaneously with the filing of this Notice.

                                                     Respectfully submitted,
                                                     /s/ Joshua B. Kutnick
                                                     _____________________________
                                                     Attorney for Defendant
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